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                          UNITED STATES COURT OF APPEALS
                              FOR THE FIRST CIRCUIT

                               UNITED STATES OF AMERICA,
                                        Appellant
                                                 v.
      Nos. 19-1582, 19-1625

                         NIA MOORE-BUSH, A/K/A NIA DINZEY,
                                 Defendant–Appellee

                                                 &
      Nos. 19-1583, 19-1626
                                       DAPHNE MOORE,
                                       Defendant–Appellee

        ON APPEAL FROM A JUDGMENT OF THE UNITED STATES DISTRICT
               COURT FOR THE DISTRICT OF MASSACHUSETTS

                   PROPOSED BRIEF OF AMICI CURIAE
        THE AMERICAN CIVIL LIBERTIES UNION AND THE AMERICAN
              CIVIL LIBERTIES UNION OF MASSACHUSETTS
                       IN SUPPORT OF APPELLEES

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                           CORPORATE DISCLOSURE STATEMENT

                Amici curiae are non-profit entities that do not have parent corporations. No

      publicly held corporation owns 10 percent or more of any stake or stock in amici

      curiae.




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                                       INTRODUCTION

            This case arises from the government’s warrantless use of a sophisticated

      camera aimed at a home—what the government calls a “pole camera”—to surveil

      everyone who came and went for eight months. During that time, police officers

      could watch the camera’s livestream feed in real time, and remotely pan, tilt, and

      zoom close enough to read license plates and see faces. Moore-Bush Add. 3; Gov’t

      App. 106–07, 151–59, 180–92. They could also review the searchable, digitized record

      of this footage at their convenience. Moore-Bush Add. 3. Despite all of this, the

      government does not see its failure to obtain a warrant to engage in this kind of

      surveillance as a mistake. Instead, it argues that the Fourth Amendment’s prohibition

      against unreasonable searches and seizures places no restriction whatsoever on its use

      of home-facing cameras. On this view, the government could use pole cameras to

      keep tabs on untold numbers of American homes without ever thinking twice about

      the Constitution.

            The district court correctly rejected this sweeping assertion of surveillance

      authority. The court reasoned that defendants Nia Moore-Bush and Daphne Moore

      “did not subjectively expect to be surreptitiously surveilled with meticulous precision

      each and every time they or a visitor came or went from their home,” and this

      expectation was reasonable “[i]n light of the principles that the Supreme Court

      elucidated” in Carpenter v. United States, 138 S. Ct. 2206 (2018). See Moore-Bush Add. 6,



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      8. The district court therefore held that the government’s warrantless, long-term use

      of a home-facing camera violated the Fourth Amendment. Moore-Bush Add. 2.

             Amici submit this brief to highlight three reasons why this Court should

      uphold the district court’s ruling. First, the surveillance at issue here implicates not

      only the concerns that animated the decision in Carpenter, but also additional concerns

      relating to the home. In Carpenter, the Supreme Court held that the Constitution

      protected an individual’s public movements revealed by cell site location information

      (CSLI) maintained by his cell phone provider, because such information was

      “detailed, encyclopedic, [] effortlessly compiled” and “deeply revealing.” Id. at 2216,

      2223. Those conclusions apply with greater force where, as here, the government

      effortlessly compiles detailed and deeply revealing information about the comings and

      goings at someone’s home, which is “first among equals” when it comes to Fourth

      Amendment protections. Florida v. Jardines, 569 U.S. 1, 6 (2013) (cleaned up).1 Under

      Carpenter, and in light of longstanding protections for the home, warrantless long-term

      technological surveillance that allows the government to monitor and record who and

      what is entering a home violates subjectively and objectively reasonable expectations

      of privacy.


      1
        “This brief uses (cleaned up) to indicate that internal quotation marks, alterations or
      citations have been omitted from quotations.” Jack Metzler, Use (cleaned up) to Make
      Your Legal Writing Easier to Read, ABA For Law Students: Before the Bar (Oct. 3,
      2017), https://perma.cc/B2JX-9JSR.; see also Jack Metzler, Cleaning Up Quotations, 18 J.
      App. Prac. & Process 143 (2017).

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             Second, law enforcement officers in Massachusetts are already using

      technologies in other contexts that, if applied to home-facing cameras, could

      substantially enhance their surveillance capabilities. These technologies would enable

      the government to read messages off cellphone screens at one’s doorstep, search

      weeks of footage in a fraction of the time, and identify everyone entering or exiting a

      house via artificial intelligence-powered face surveillance. The Supreme Court has

      made clear that this Court’s Fourth Amendment analysis must “take account of

      [these] more sophisticated systems that are already in use.” Kyllo v. United States, 533

      U.S. 27, 36 (2001); see also Carpenter, 138 S. Ct. at 2218.

             Third, authorizing warrantless, prolonged pole camera surveillance of a home

      would disparately impact those with the fewest resources to protect themselves from

      surveillance. But constitutional protections cannot turn on the accoutrements of

      wealth. To guard against this outcome, and to address the additional concerns

      described above, this Court should affirm the district court’s suppression order.

                                     INTERESTS OF AMICI2

             The American Civil Liberties Union of Massachusetts, Inc. (ACLUM) and the

      American Civil Liberties Union (ACLU) are membership organizations dedicated to


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        No party’s counsel authored this brief in whole or in part. No party or party’s
      counsel contributed money that was intended to fund preparing or submitting this
      brief. Only amici, their members or their counsel contributed money that was
      intended to fund preparing or submitting this brief. Fed. R. App. P. (29)(c)(5).


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       the principles of liberty and equality embodied in the constitutions and laws of the

       Commonwealth and the United States. The rights they defend through direct

       representation and amicus briefs include the right to be free from the government’s

       use of technology to conduct unreasonable searches and seizures. See, e.g., Carpenter v.

       United States, 138 S. Ct. 2206 (2018) (direct representation challenging the warrantless

       use of historical CSLI); United States v. Jones, 565 U.S. 400 (2012) (amicus brief on the

       warrantless collection of GPS-location data); Commonwealth v. Almonor, 482 Mass. 35,

       120 N.E. 3d 1183 (2019) (amicus brief on the warrantless collection of real-time

       CSLI); Commonwealth v. Augustine, 467 Mass. 230, 4 N.E. 3d 846 (2014) (direct

       representation challenging the warrantless use of historical CSLI).

                                            ARGUMENT
          I.      Training a pole camera on a home for long-term, continuous
                  surveillance violates a reasonable expectation of privacy.

               Where an individual has a reasonable expectation of privacy in an item or

       location to be searched, the search is “per se unreasonable under the Fourth

       Amendment” unless conducted pursuant to a judicial warrant. Arizona v. Gant, 556

       U.S. 332, 338 (2009) (quoting Katz v. United States, 389 U.S. 347, 357 (1967)). As the

       government acknowledges, under Carpenter, “a person may have a reasonable

       expectation of privacy that includes activities exposed to the public.” Gov’t Br. 27.

       Carpenter held that the government’s acquisition of long-term CSLI, collected about a

       cell phone user from his service provider, violated a reasonable expectation of privacy.


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       138 S. Ct. at 2217, 2223. Here, the government used a sophisticated camera trained at

       the defendants’ home to surveil them for eight months. Applying Carpenter, the district

       court correctly held that the defendants manifested a subjective privacy interest in not

       being subjected to this kind of surveillance, and that defendants’ expectation of

       privacy was objectively reasonable. Overlapping regulatory and statutory provisions

       that prevent private individuals from attaching items to utility poles further supports

       the reasonableness of this expectation.

             A. The Fourth Amendment does not require people to take extraordinary
                measures to manifest a subjective expectation of privacy against
                pervasive technological surveillance.
             The district court held that, by their choice of home and neighborhood, the

       defendants established a subjective privacy interest in avoiding prolonged surveillance

       from a pole camera. Moore-Bush Add. 5–6. That is correct, but it is also difficult to

       imagine a situation in which a person would lack a subjective expectation that they can

       live their life free from continuous, prolonged recording of every single detail and

       event occurring immediately outside of their home. Compare Gov’t Br. 24–25. If a

       typical person were to turn on the television only to find that it is showing eight

       consecutive months of footage that some stranger took of the front of their home,

       they would not likely think this was merely the price of having a house that is visible

       from the street.

             The government argues otherwise. It claims that, when a person does not erect

       a fence or plant hedges that obstruct the street view of the front of their home, it

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       denotes tacit approval for the continuous, prolonged, and digitized recording of all

       events that occur around their front door. See Gov’t Br. 24–25. But that is not the law.

              The Fourth Amendment does not require people to take extraordinary

       measures to protect themselves from invasive government surveillance using modern

       technologies. Thus, in Kyllo, the Court rejected the dissent’s suggestion that people

       should be required to add extra insulation to their homes to avoid police surveillance

       using thermal-imaging equipment. Compare 533 U.S. at 29–40, with id. at 45 (Stevens, J.,

       dissenting). In Carpenter, the Court made clear that people need not “disconnect[]

       from the phone network . . . to avoid leaving behind a trail of location data.” 138 S.

       Ct. at 2220. Accepting the government’s position would require people to erect

       towering walls around their homes to shield themselves from pervasive video

       surveillance; such a rule would threaten to reduce the Fourth Amendment’s practical

       protections to a nullity.3




       3
        Standard utility poles for residential power delivery are approximately 40 feet tall. See
       David Brooks, There are 500,000 Utility Poles in New Hampshire, Yet We Hardly Notice
       Them, Concord Monitor (Dec. 24, 2016), https://perma.cc/XT7U-8MYT. Erecting a
       wall high enough to block a camera mounted on a pole would be expensive, difficult,
       and often precluded by local regulatory requirements. See, e.g., Springfield, Mass.,
       Zoning Ordinances, art. 7, § 7.4.23 (prohibiting construction of fences at the front of
       certain residential properties, and limiting the height of fences to four feet at others).
       Even where such walls are legal, they would protect only those with the resources to
       purchase them. See infra Section III.

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              B. The depth of sensitive information inescapably revealed by long-term
                 around-the-clock pole camera surveillance of a home impinges on
                 objectively reasonable expectations of privacy.
              It is reasonable for people to expect that the government will not use a

       sophisticated camera trained at their home to surveil their comings and goings for

       eight months. Carpenter explained that individuals have a “reasonable expectation of

       privacy in the whole of their physical movements revealed by cell site location

       information” because of “the deeply revealing nature of CSLI, its depth, breadth, and

       comprehensive reach, and the inescapable and automatic nature of its collection.”

       Carpenter, 138 S. Ct. at 2217, 2223. This case includes additional elements: the

       government (not a third party) collected the information at issue, and it did so by

       training a camera at someone’s home, which represents “the very core” of what the

       Fourth Amendment protects. Jardines, 569 U.S. at 6 (cleaned up); see also CDT Amicus

       Br. 11–14. This surveillance is at least as revealing, deep, and inescapable as that

       which triggered a warrant in Carpenter.

              Like longer-term cell phone location data, prolonged pole camera surveillance

       of a home opens an “intimate window into a person’s life, revealing . . . his ‘familial,

       political, professional, religious, and sexual associations.’” Id. at 2217 (quoting Jones,

       565 U.S. at 415 (Sotomayor, J., concurring)). Over time, a pole camera trained on a

       person’s home records the patterns and timing of residents’ movements to and from

       home, the items they carry with them when the leave and arrive, and the people who

       visit them and how long those visitors stay. Watching a resident leave home on

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       Sunday morning with a hymnal, Saturday morning with a prayer shawl, or mid-day

       Friday with a prayer rug reveals details of religious observance. Leaving with a protest

       sign or an oversized X-ray film envelope suggests political activity or medical travails.

       A visitor arriving at the house on a weekend evening with flowers could reveal a

       romantic liaison, while that visitor spending the night when the homeowner’s spouse

       is away might disclose an affair. Cf. Moore-Bush Add. 10–11.

              In other words, watching the comings and goings at a home can chart out a

       detailed picture of the occupant’s private life. It matters not that some degree of

       inference may be required to fill in the blanks: the Supreme Court has “rejected the

       proposition that ‘inference insulates a search.’” Carpenter, 138 S. Ct. at 2218 (quoting

       Kyllo, 533 U.S. at 36). In Carpenter, for example, the record showed that individual

       points of cell phone location data could not pinpoint the defendant’s whereabouts,

       but rather only “placed him within a wedge-shaped sector ranging from one-eighth to

       four square miles.” Id. Nonetheless, the Court explained, “the Government could, in

       combination with other information, deduce a detailed log of Carpenter’s

       movements.” Id. Here, too, over time the information is amply revealing to impinge

       upon individuals’ deepest “privacies of life.” Id. at 2217.

              Further, exposing such details to view is just as “inescapable” as the cell phone

       location tracking in Carpenter. Id. at 2223. “[I]n no meaningful sense does the

       [homeowner] voluntarily ‘assume[ ] the risk’ of turning over a comprehensive dossier

       of his physical movements,” id. at 2220, to and from home, nor the myriad incidents
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       of daily life that take place immediately outside of the home. As noted above, it is no

       answer to suggest that people could erect high walls around their homes. See supra Part

       I.A & n.3. Nor should people be forced to choose between protecting their privacy

       and remaining productive members of society able to come and go as they please.

       Once a pole camera is surreptitiously trained upon a home, there is no way for a

       person to prevent the recording of a rich digital dossier of their life.

              C. Positive law reinforces the defendants’ reasonable expectation of
                 privacy against long-term pole camera surveillance of their home.
              The reasonableness of the expectation of privacy here is bolstered by legal

       prohibitions on the attachment of extraneous materials, including cameras, to utility

       poles. In assessing whether an expectation of privacy is objectively reasonable, norms

       and expectations shaped by sources of positive law, including regulations and statutes,

       can be relevant. Cf. Carpenter, 138 S. Ct. at 2268 (Gorsuch, J., dissenting) (“A Fourth

       Amendment model based on positive legal rights ‘carves out significant room for

       legislative participation in the Fourth Amendment context,’ too, by asking judges to

       consult what the people’s representatives have to say about their rights.” (quoting

       William Baude & James Y. Stern, The Positive Law Model of the Fourth Amendment, 129

       Harv. L. Rev. 1821, 1852 (2016))); Tennessee v. Garner, 471 U.S. 1, 15–18 & n.21 (1985)

       (noting that “[i]n evaluating the reasonableness of police procedures under the Fourth

       Amendment,” the Supreme Court has looked to “prevailing rules in individual




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       jurisdictions” and the trend in relevant state laws (citing United States v. Watson, 423

       U.S. 411, 421–22 (1976))).

                Thus, in Florida v. Riley, a plurality of the Court found that police surveillance

       from a helicopter did not invade a reasonable expectation of privacy in part because

       “the helicopter in th[at] case was not violating the law” by engaging in a one-time

       flyover above private property at an elevation of 400 feet. 488 U.S. 445, 451 (1989)

       (plurality op.) (emphasis added). Similarly, in California v. Ciraolo, 476 U.S. 207 (1986),

       the Court looked to whether similarly ephemeral aerial surveillance by law

       enforcement took place within legally navigable airspace as determined by federal law,

       where “[a]ny member of the public flying in this airspace who glanced down could

       have seen everything that these officers observed.” Id. at 213–14 (citing 49 U.S.C.

       App. § 1304 (current version at 49 U.S.C. § 40103)). Conversely, in Jardines, the Court

       concluded that because members of the public lack an implied license under the

       common law of trespass to enter and remain on a home’s curtilage with a drug-

       sniffing dog, police officers implicate the Fourth Amendment when engaging in that

       same conduct. 569 U.S. at 7–9.

                In each of these cases, the Court asked whether “a government actor [has]

       done something that would be unlawful for a similarly situated nongovernment actor

       to do.” Baude & Stern, 129 Harv. L. Rev. at 1831. “Stated differently, the Fourth

       Amendment is triggered if the officer—stripped of official authority—could not

       lawfully act as he or she did.” Id. Where a government agent violates such a legal
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       prohibition for the purpose of gathering information, a Fourth Amendment search

       has occurred. Cf. Jones, 565 U.S. at 404–06 (holding that government commission of a

       trespass to chattels for the purpose of gathering information constitutes a Fourth

       Amendment search).

              Here, overlapping regulatory and statutory protections prohibit individuals

       from attaching extraneous items to utility poles. In Springfield, Massachusetts, where

       the pole camera surveillance in this case took place, the municipal code provides that

       “[n]o person shall affix any sign, card or other advertising matter, or attach any iron

       ring to any telephone, telegraph, traffic or electric light pole or post.” Springfield,

       Mass., Code, art. II § 275-4. Other jurisdictions have similar prohibitions. See, e.g., Me.

       Stat. tit. 35-A, § 2310 (“A person commits trespass on a utility pole if, without the

       prior consent of the owner of the pole, that person places any object or makes any

       attachment on any utility pole”); Okla. Stat. tit. 21, § 1838 (“It is unlawful to attach or

       insert any object with nails or tacks upon poles erected for the support of electric,

       telephone, utility or power lines.”); Wash. Rev. Code § 70.54.090 (“Any attachment to

       utility poles shall only be made with the permission of the utility involved.”).

              Further, in Massachusetts, as elsewhere, the government carefully regulates

       what items can be attached to utility poles and by whom.4 See Mass. Gen. Laws ch.




       4
        In a number of states, pole attachments are regulated by the Federal
       Communications Commission. See 47 U.S.C. § 224.

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       166, § 25A. The government contemplates that entities wishing to use a utility pole to

       support other kinds of transmission wires (telephone, cable, or internet, for example)

       will enter into licensing agreements with the owner of the utility pole, or otherwise

       obtain consent. Id. Where a private party “has made attachments to . . . poles without

       right to do so,” however, the party is “committing a continuing trespass.” Verizon New

       England, Inc. v. Fibertech Networks, LLC, No. Civ.A. 02-831, Civ. A. 02-843, 2002 WL

       32156845, at *3 (Mass. Super. Aug. 19, 2002).

                 These legal limits bolster the expectation that, as a practical matter, people will

       not be subjected to extended surveillance of their homes using a camera

       surreptitiously affixed high on a utility pole.5

           II.      To protect the degree of privacy the public enjoyed before the current
                    technological age, the government must obtain a warrant before
                    conducting long-term pole camera surveillance of a home.
                 In cases involving the government’s use or exploitation of emerging

       technologies, the Supreme Court’s Fourth Amendment analysis has considered not


       5
         As Justice Gorsuch has explained, “while positive law may help establish a person’s
       Fourth Amendment interest there may be some circumstances where positive law
       cannot be used to defeat it.” Carpenter, 138 S. Ct. at 2270 (Gorsuch, J., dissenting)
       (emphasis added). In other words, there is “a constitutional floor below which Fourth
       Amendment rights may not descend. Legislatures cannot pass laws declaring your
       house or papers to be your property except to the extent the police wish to search
       them without cause.” Id. at 2270–71 (Gorsuch, J., dissenting). Thus, even if the
       Massachusetts legislature enacted a law purporting to permit warrantless long-term
       pole camera surveillance of homes by police, people would still have a reasonable
       expectation of privacy under the Fourth Amendment for all of the reasons set out
       above. See supra Part I.A–B.

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       only whether the government’s conduct implicates an individual’s reasonable

       expectation of privacy, but also whether it threatens to disrupt the traditional

       “relationship between citizen and government in a way that is inimical to democratic

       society.” Jones, 565 U.S. at 416 (Sotomayor, J., concurring) (cleaned up). In Carpenter,

       confronted with the power of CSLI “to encroach upon areas normally guarded from

       inquisitive eyes,” the Supreme Court “sought to ‘assure [ ] preservation of that degree

       of privacy against government that existed when the Fourth Amendment was

       adopted.’” Carpenter, 138 S. Ct. at 2214 (quoting Kyllo, 533 U.S. at 34) (alteration in

       original). In Jones, Justice Alito noted that, before computers, practical considerations

       best protected privacy because “[t]raditional surveillance for any extended period of

       time was difficult and costly and therefore rarely undertaken.” Jones, 565 U.S. at 429

       (Alito, J., concurring). Technology can remove these protective barriers, decreasing

       logistical impediments to long-term surveillance and increasing the ability to evade

       detection and obtain previously unobtainable information. Cf. Carpenter, 138 S. Ct. at

       2217–18. In such instances, a warrant requirement maintains the proper equilibrium

       of privacy protections under the Fourth Amendment.

              A. Prolonged pole camera surveillance significantly encroaches upon
                 traditional spheres of privacy.
              The long-term use of pole cameras is a surveillance innovation that radically

       transforms the capabilities of law enforcement to peer into individuals’ private lives.




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              Forget the classic “stakeout” of yore. Like the cellphone tracking at issue in

       Carpenter, pole camera surveillance “is remarkably easy, cheap, and efficient compared

       to traditional investigative tools,” enabling a heretofore incredibly costly and resource-

       intensive kind of monitoring “at practically no expense.”6 138 S. Ct. at 2218. What’s

       more, police can set up a camera and “travel back in time” months later to review

       thousands of hours of historical footage. Id. Finally, where, as here, a house is located

       in what the police describe as “a quiet residential street where physical surveillance [is]

       difficult to conduct without detection,” Gov’t App. 64, pole camera surveillance

       provides the unique ability to capture undisturbed patterns of behavior. Cf. United

       States v. Karo, 468 U.S. 705, 709 (1984) (noting police used technology to monitor a

       car’s location where “the agents did not maintain tight surveillance for fear of

       detection”); United States v. Vargas, No. CR-13-6025-EFS, 2014 U.S. Dist. LEXIS

       184672, at *26 (E.D. Wash. Dec. 15, 2014) (“[I]t may have been possible for law

       enforcement agents to take turns personally observing [defendant’s] activities in his

       front yard for a thirty-day period but the success of such hypothetical constables

       going unnoticed by [the defendant] for thirty days is highly unlikely.”). These




       6
         Based on one oft-cited analysis estimating the cost of various surveillance
       techniques, see Kevin Bankston & Ashkan Soltani, Tiny Constables & the Cost of
       Surveillance: Making Cents out of United States v. Jones, 123 Yale L.J. Online 335, 342–43
       (2014), amici estimate that it would cost the Bureau of Alcohol, Tobacco & Firearms
       more than $200,000 to monitor a home consistently for eight months based on the
       government pay scale and locality pay.

                                                   14
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       profound changes “give[] police access to a category”—and a depth—“of information

       otherwise unknowable.” Carpenter, 138 S. Ct. at 2218.

              The government argues that these features are immaterial under the Fourth

       Amendment, relying heavily on the 2009 pole camera case United States v. Bucci, 582

       F.3d 108 (1st Cir. 2009). Gov’t Br. 15–24. But Bucci’s determination that the pole

       camera surveillance did not trigger the warrant requirement rested on its conclusion

       that the “legal principle” that “[a]n individual does not have an expectation of privacy

       in items or places he exposes to the public” was “dispositive.” 582 F.3d at 117. Of

       course, under Carpenter and Jones, a rule stating that individuals extinguish their privacy

       in whatever they expose to the public is no longer dispositive; in fact, such a rule is

       now untenable.

              Attempting to distinguish Carpenter, the government contends that, unlike CSLI

       collected by third parties, pole cameras “do not create a tracking capacity that ‘runs

       against everyone,’” and do not permit the “retrospective surveillance of something as

       to which no suspicion existed when the surveillance took place.” Gov’t Br. 22

       (quoting Carpenter, 138 S. Ct. at 2218). But this assertion substantially underplays the

       implications of the government’s position that it can warrantlessly train a pole camera

       on anyone or everyone’s home. One need look no further than Jones, Kyllo, and Katz to

       understand that, when the government deploys surveillance technologies, it acutely

       implicates the Fourth Amendment even when it deploys that technology against just

       one person. See Jones, 565 U.S. at 430 (Alito, J., concurring) (targeted GPS tracking for
                                                   15
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       a prolonged period is a search); Kyllo, 533 U.S. at 40 (targeted surveillance of a

       suspect’s home with thermal imaging equipment requires a warrant); Katz, 389 U.S. at

       358–59 (targeted electronic eavesdropping on a suspect’s conversations in a phone

       booth requires a warrant). What is more, the government’s legal position, if accepted,

       would permit it to apply camera technology to everyone without any suspicion. Under

       its view, it could place pole cameras in front of every house in America, including the

       homes of politicians, protesters, and judges, indefinitely and without a warrant. See Tr.

       of Oral Arg. 9–10, United States v. Jones, 565 U.S. 400 (2012) (No. 10-1259) (counsel for

       United States conceding that under the government’s view of the Fourth

       Amendment, it could attach GPS trackers to the cars of every member of the

       Supreme Court without a warrant).

              Finally, although the government argues that the Supreme Court’s decision in

       Ciraolo survived its decision in Carpenter, that is of no assistance because Ciraolo is

       entirely consistent with the suppression order here. Gov’t Br. 26–27. On its face,

       Ciraolo held that a warrant was not required when police observed details about a

       home “discernable to the naked eye” while “passing by” during a one-time flyover in

       “public[ly] navigable airspace.” 476 U.S. at 213–14. In so doing, it brushed aside the

       dissent’s concerns that its decision ignored “Justice Harlan’s observations [in Katz]

       about future electronic developments” by explaining that those concerns “were

       plainly not aimed at simple visual observations from a public place.” Id. at 214.



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             As a result, courts have long appreciated that Ciraolo simply authorized one-

       time, naked-eye surveillance, and does not apply to long-term, technologically

       enhanced surveillance of the home. Kyllo, 533 U.S. at 33.7 “[I]t does not follow that

       Ciraolo authorizes any type of surveillance whatever just because one type of

       minimally-intrusive aerial surveillance is possible.” Cuevas-Sanchez, 821 F.2d at 251.

       Indeed, even when courts have upheld aerial surveillance under the reasoning of

       Ciraolo, they have done so while emphasizing the limited nature of that decision.8

       Ciraolo therefore does not bless pervasive surveillance of a home by a camera that

       remotely pans, tilts and zooms and indefinitely stores digitized, searchable footage.




       7
         See, e.g., United States v. Cuevas-Sanchez, 821 F.2d 248, 251 (5th Cir. 1987)
       (distinguishing Ciraolo to hold that thirty-day pole camera surveillance of a backyard is
       a Fourth Amendment search); United States v. Anderson-Bagshaw, 509 F. App’x 396, 405
       (6th Cir. 2012) (in dicta, “confess[ing] misgivings about a rule that would allow the
       government to conduct long-term video surveillance of a person’s backyard without a
       warrant” because, in part, “Ciraolo involved a brief flyover, not an extended period of
       constant and covert surveillance”); United States v. Nerber, 222 F.3d 597, 603 (9th Cir.
       2000) (citing Cuevas-Sanchez for the proposition that courts “must consider the severity
       of the intrusion to which [people] were subjected” when analyzing Fourth
       Amendment “searches”).
       8
        See Riley, 488 U.S. at 448–49 (explaining that Ciraolo “control[led]” where a law
       enforcement officer made observations from a helicopter “[w]ith his naked eye”);
       United States v. Broadhurst, 805 F.2d 849, 854, 856 (9th Cir. 1986) (explaining that
       Ciraolo was limited to “unenhanced visual observations” and that its result “can hardly
       be said to approve of intrusive technological surveillance where the police could see
       no more than a casual observer”).

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                B. Law enforcement in Massachusetts already use technologies that
                   could enhance the surveillance capabilities of pole cameras even
                   beyond what occurred in this case.
                In assessing whether the government’s use or exploitation of a certain

       technology threatens to “shrink the realm of guaranteed privacy,” a court must

       consider not only the specific technology at issue but also related, existing

       technologies that could further enhance the government’s surveillance capabilities.

       Kyllo, 533 U.S. at 34, 36; see also Carpenter, 138 S. Ct. at 2218; CDT Amicus Br. 19–20.

       Indeed, “the rule the Court adopts ‘must take account of more sophisticated systems

       that are already in use or in development.’” Carpenter, 138 S. Ct. at 2218 (quoting Kyllo,

       533 U.S. at 36). And for good reason. Turning a blind-eye to these improvements

       “would leave the homeowner at the mercy of advancing technology.” Kyllo, 533 U.S.

       at 35.

                This Court’s Fourth Amendment analysis therefore must take into account that

       police in the Commonwealth are already using technologies in other contexts that, if

       applied to pole cameras, could allow officers to zoom, search and use the footage in

       increasingly invasive ways. Specifically, as the Center for Democracy and Technology

       details in their amicus, there are at least three ways in which available technology can

       enhance pole camera surveillance even further than its use in this case. CDT Amicus

       Br. 20–26. First, cameras can now hone-in on small details with startling accuracy.9


       9
        For example, one company has released a camera small enough to be affixed to a
       drone that identifies faces from 1,000 feet and reads serial numbers from 100 feet.
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       Second, video analytic software enables the rapid and targeted “search of volumes of

       video that would otherwise be impossible.”10 And third, police officers can use face

       surveillance technology to identify individuals through their images.11 Notably,

       Massachusetts law enforcement agencies are already deploying these technologies in

       other contexts right now.

                  Nearly ten years ago, Logan Airport installed a camera that can see any object a

       centimeter-and-a-half wide from 150 meters.12 That is a distance of more than one-

       and-a-half football fields. According to the Massport Director of Corporate Security,

       “the next version is going to be twice as powerful.”13 Deployed on a pole camera, a

       lens with these capabilities could enable officers to read anything coming into or out

       of a surveilled house. Student loan statements, immigration papers, or texts from a




       Jason Koebler, This Drone Zoom Lens Can Identify Your Face from 1000 Feet Away, VICE
       (Feb. 25, 2015), https://perma.cc/GVM7-L5B2.
       10
         BriefCam, Video Analytics Solutions for Post-Event Investigations,
       https://perma.cc/9T3K-K3TN (last visited Nov. 1, 2019); see also Jay Stanley, The
       Dawn of Robot Surveillance: AI, Video Analytics, and Privacy, American Civil Liberties
       Union (2019), https://perma.cc/P3N8-TUKZ.
       11
         Electronic Frontier Foundation, Street Level Surveillance: Face Recognition (Oct. 24,
       2017), https://perma.cc/BUD7-55VB.
       12
         Brian R. Ballou, At Logan, New Device Keeps Eye on Everything, Boston Globe (May 3,
       2010), https://perma.cc/YYP3-ENMD.
       13
            Id.

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       spouse or child14 could all be reviewed in real-time or retained and searched months

       later.

                With respect to video analytics, the Springfield Police Department began using

       BriefCam software nearly a year ago.15 BriefCam allows officers to quickly review

       hours of video by simultaneously displaying events that occurred at different times.16

       The software also classifies the properties of images, allowing officers to use keywords

       to search images in 27 categories including gender, age, and “appearance similarity.”17

       Finally, officers can upload photos to set up real-time face-recognition alerts.18

       Springfield currently uses BriefCam “to quickly review footage from traffic cameras”

       by “condens[ing] hours of footage into a couple of minutes and enable[ing] police to

       pinpoint objects of interest [and] filter[] out irrelevant objects.”19 As the Director of



       14
         At least one Canadian casino has used cameras to zoom in and read text messages
       of a phone. See Lori Culbert, Judge Raps Police for Using Casino Cameras to Read Suspect’s
       Texts, Vancouver Sun (Nov. 11, 2014), https://perma.cc/T3EE-ZC7T.
        George Graham, Springfield Police to Dramatically Expand Video Surveillance Capabilities,
       15

       MassLive (Jan. 30, 2019), https://perma.cc/3XWE-7JU.
        BriefCam, Technology That Allows You to Review Video Fast, https://perma.cc/75WW-
       16

       CMZ7 (last visited Nov. 1, 2019).
       17
         BriefCam, Intelligent Video Analytics Solutions, https://perma.cc/9MDZ-MBRU (last
       visited Nov. 1, 2019); BriefCam, Search & Review Hours of Video in Minutes: Solutions to
       Help Investigators Accelerate Investigations, https://perma.cc/6ZJJ-2QLW (last visited
       Nov. 1, 2019).
       18
         BriefCam, Real-Time Alerting & Rapid Response, https://perma.cc/PQQ7-MS2R (last
       visited Nov. 1, 2019).
        BriefCam, BriefCam at Work in Safe Cities, https://perma.cc/B3L4-LTRZ (last visited
       19

       Nov. 1, 2019).

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       the Springfield Police Crime Analysis Unit explains, however, “there’s a lot more it

       can do.”20 Indeed, he notes that they plan to expand beyond the 50-traffic cameras

       currently linked to the software, clarifying “[w]e are going to quickly expand in the

       thousands at some point. The bigger the footprint, the better we are going to get.”21

                  Finally, law enforcement in Massachusetts already utilize face surveillance

       technology regularly. In 2015, federal, state and local law enforcement agencies made

       258 requests to the Massachusetts Registry of Motor Vehicles (RMV) asking the

       agency to compare images against the RMV’s database to identify an individual, “the

       equivalent of about one request per weekday.”22 Local police departments are also

       among the “376 law enforcement agencies [that] have access to a database of 2.6

       million photos of people who are arrested and booked” in the Commonwealth.23

       Applying this technology to still images taken from a pole camera trained on a home,

       police could identify everyone entering or exiting that house.




       20
            Id.
       21
         Graham, supra n.15. While the police have also asked homeowners with their own
       video surveillance “to register their systems with police so they can be contacted to
       check their systems if a crime” occurs in their neighborhood, “[t]here are no plans . . .
       for the police to tap into [these] residential systems.” Id.
       22
         Jim Davis, State Scans Mass. License Photos to Find Matches with Suspects, Boston Globe,
       (Dec. 20, 2016), https://perma.cc/7DLH-T4QD.
       23
            Id.

                                                      21
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            III.   Authorizing warrantless, prolonged pole camera surveillance of a
                   home would disparately impact those with the fewest resources to
                   protect themselves from surveillance.
               Although reversing the district court’s order would threaten everyone’s

       reasonable expectation of privacy, it would have an especially negative impact on poor

       people who cannot replace constitutional privacy protections with expensive

       properties and enhanced technology. Cf. United States v. Pineda-Moreno, 617 F.3d 1120,

       1123 (9th Cir. 2010) (Kozinski, J., dissenting) (noting “the very rich will still be able to

       protect their privacy” with numerous gadgets if constitutional protections are

       removed, “but the vast majority” will not). The Supreme Court has long emphasized

       that, “the most frail cottage in the kingdom is absolutely entitled to the same

       guarantees of privacy as the most majestic mansion.” Karo, 468 U.S. at 731; see also

       United States v. Ross, 456 U.S. 798, 822 (1982) (same). To ensure this promise does not

       ring hollow across the increasing economic disparity gap, prolonged pole camera

       surveillance of a home must trigger the warrant requirement.

               A. Economic disparity is growing in this country.
               The gulf between those who have expendable resources and those who do not

       is growing. According to data from the U.S. Census Bureau, “the gap between the

       richest and the poorest U.S. households is now the largest it’s been in the past 50

       years.”24 In Massachusetts, the contrast is even more striking. In 2015, Massachusetts


       24
         Bill Chappell, US Income Inequality Worsens, Widening to a New Gap, NPR (Sept 26,
       2019), https://perma.cc/6XHD-4FR6.

                                                   22
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       had the sixth highest income inequality in America; the next year, Boston had the

       seventh highest income inequality among American cities.25

                  What’s more, these numbers contain troubling racial disparities. White

       household income in Boston was approximately double that of any other racial group

       in 2016.26 “[E]ven greater than [these] gaps in income,” however, is the “large,

       persistent racial wealth gap.”27 The median family wealth of white families living in the

       metro Boston area in 2015 was $247,500; it was $3,020 for a Puerto Rican family, $8

       for a Black family, and $0 for a Dominican family.28 These numbers are similarly

       reflected across the country. “Nationally, white college graduates have more than

       seven times the wealth of black college graduates and four times the wealth of Latinx

       graduates, and white single parents have approximately twice the wealth of two-parent

       black and Latinx households.”29




       25
         Luc Schuster & Peter Ciurczak, Boston’s Booming . . . But for Whom?, Boston
       Indicators and the Boston Foundation, at 16 (Oct. 2018), https://perma.cc/5KZT-
       HECU.
       26
            Id. at 21.
       27
            Id. at 34.
       28
            Id.
       29
         Michaela Broyles, A Conversation About the Racial Wealth Gap – And How to Address It,
       Brookings Now (June 18, 2019), https://perma.cc/TD73-HRTT.

                                                     23
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             B. Reversing the district court’s order would transform economic
                disparities into disparate protections for fundamental Fourth
                Amendment rights.
             The foundations of our Fourth Amendment jurisprudence indicate that these

       economic disparities should not translate into different privacy protections for the

       home. William Pitt’s oft-quoted 18th-century address urged the House of Commons:

                    The poorest man may in his cottage bid defiance to
                    all the forces of the Crown. It may be frail; its roof
                    may shake; the wind may blow through it; the storm
                    may enter; the rain may enter; but the King of England
                    cannot enter—all his force dares not cross the threshold
                    of the ruined tenement!

       Payton v. New York, 445 U.S. 573, 601 n.54 (1980); see also Georgia v. Randolph, 547 U.S.

       103, 115 (2006) (same). Pitt’s framework formed the basis for our constitutional

       protections against unreasonable searches of the home. See, e.g., Payton, 445 U.S at 601

       n.54 (“There can be no doubt that Pitt’s address in the House of Commons in March

       1763 echoed and re-echoed throughout the colonies.”). As the Supreme Court

       recognized in Randolph, “we have . . . lived our whole national history with an

       understanding of th[is] ancient adage.” 547 U.S. at 115 (cleaned up). Nearly 250 years

       after Pitt’s address, the Court rejected the argument that the automobile exception

       allows warrantless entry into a carport unless it is fully enclosed because that “would

       grant constitutional rights to those persons with the financial means to afford

       residences with garages in which to store their vehicles but deprive those persons



                                                   24
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       without such resources of” similar constitutional protections. Collins v. Virginia, 138 S.

       Ct. 1663, 1675 (2018).

              Upholding the warrantless surveillance here would upend this jurisprudence. If

       the Constitution no longer protects the sanctity of the home, “people with more

       money and more power will be able to purchase more privacy protections” to fill in

       the gaps.30 For example, wealthy people could purchase homes in gated communities

       or neighborhoods with underground utility lines, where it is more difficult for police

       to affix a camera. They could buy expansive plots of land with houses set so far back

       that they obscure any camera angle. They could even build underground tunnels for

       entry or enclose their entire home with tinted glass to prevent a camera from seeing

       their front door.31 In other words, they could buy a protected space once the

       Constitution abandoned them.

              Those without resources, however, will not be so lucky. Without the ability to

       afford such neighborhoods, houses or technology, those with less will be more and

       more subject to the warrantless surveillance of their most private moments in their

       homes. “Yet poor people are entitled to privacy, even if they can’t afford all the



        Michael Rosenberg, The Price of Privacy: How Access to Digital Privacy is Slowly Becoming
       30

       Divided by Class, 20 UCLA J.L. & Tech. 1, 5 (2016).
       31
         Such measures are neither impossible nor improbable for those with resources. For
       example, to combat drone surveillance, one company trained eagles to bring down the
       devices. See Jon Hegranes, The Past, Present and Future of Anti-Drone Tech, Forbes:
       Council Post (Jan 26, 2018, 7:30 AM), https://perma.cc/9479-S8F8.

                                                   25
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       gadgets of the wealthy for ensuring it.” Pineda-Moreno, 617 F.3d at 1123 (Kozinski, J.,

       dissenting). Under our Constitution, privacy should not be cost-prohibitive for some

       while available to others.

                                           CONCLUSION
              For the foregoing reasons, this Court should affirm the district court. Of

       course, the implication of such a ruling is not that law enforcement will never be able

       to engage in the kind of surveillance at issue in this case; rather, the “answer to the

       question of what police must do before [conducting extended pole camera

       surveillance of a home] is accordingly simple—get a warrant.” Riley v. California, 573

       U.S. 373, 403 (2014).




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       Date: November 4, 2019           Respectfully submitted,


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       Dated: November 4, 2019                        /s/ Matthew R. Segal
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       by email to all parties by operation of the Court’s electronic filing system.


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